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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                        Senior District Judge Richard P. Matsch

Civil Action No. 07-cv-00371-RPM

CHARLES CALDWELL and
VICKI CALDWELL,

                     Plaintiffs,
v.

FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
SHAWNA WHITEOWL, and
MARK DAMON,

                     Defendants.

_____________________________________________________________________

      ORDER DENYING MOTIONS FOR COSTS AND FEES PURSUANT TO
                             42 U.S.C. § 1988
 _____________________________________________________________________

       Upon consideration of the motions for award of costs and attorney’s fees [58 &

59] filed by Mark Damon and Shawna Whiteowl on January 6, 2009, and January 13,

2009, respectively; the plaintiffs’ response, filed March 6, 2009, and the reply of Mark

Damon, filed March 16, 2009, and of Shawna Whiteowl, filed March 20, 2009, the Court

finds and concludes that although the federal claims in this civil action were dismissed

by this Court’s determination of summary judgment motions with the Court making no

determination on the state law claims, which were dismissed without prejudice, the

Court is unable to say that the federal claims were pursued for an improper motive or

that there was such an insufficient evidentiary support for those claims as to make them

groundless, frivolous or unreasonable. This Court’s rulings were based on the

determination that there was insufficient evidence to warrant findings that the

defendants violated rights protected by the United States Constitution. The federal
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claims are also interconnected with what was asserted to be claims for relief under

Colorado law which have not been adjudicated in this civil action. It is therefore

       ORDERED that the motions for award of attorney’s fees and costs filed by

defendants Shawna Whiteowl and Mark Damon are denied.

       DATED: June 8th, 2009

                                          BY THE COURT:

                                          s/Richard P. Matsch

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                                          Richard P. Matsch, Senior Judge




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